Case 2:17-cv-O4709-BI\/|S Document 1 Filed 10/20/17 Page 1 of 18

UNI'I`E]) STA'I`ES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHARMAINE SHIPPEN, as parent
Natural Guardian of, Taliyah Berry : Civil Action No.
vs.

GINO CATALAN() and ZAVC()R
TRUCKING LIMITED

NOTICE OF REMOVAL

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

PLEASE TAKE NOTICE that Defendants, Gino Catalano and Zavcor Trucking, by and
through their attorneys, Hendrzak & Lloyd, hereby tile this Notice of Removal pursuant to 28
U.S.C. §l44l(b) based upon jurisdiction under 28 USCA §1332, removing the above-captioned
case filed by Plaintiff in the Court of Common Pleas of Phiiadelphia County, Pennsylvania, to
the United States District Court for the Eastern District of Pennsylvania. The grounds for
removal are as follows:

l. This action Was commenced by the filing of the Complaint on Septem'oer 27,
2017 in the Court of Common Pleas of Philadelphia County.

2. Plaintiff served her Complaint on Defendants on October 17, 2017. A copy of the
Complaint is attached hereto as Exhibit “A”.

CITIZENSHIP OF PARTIES
3. Plaintiff"s Complaint alleges that Plaintiff is domiciled in Philadelphia, With an

address of 3304 North 4th Street, Philadelphia, PA 19140.

 

 

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4. Defendant, Zavcor 'i`rucking Limited, is a corporation With its principle place of
business in Stevensville, Ontario, Canada. Defendant, Gino Catalano, is domiciled in Niagra
Falls, Ontario, Canada.

5. This matter is removable pursuant to 28 U.S.C.A. §1441(13) as there is complete
diversity of citizenship between the parties pursuant to 28 U.S.C. §1332. Piaintiff is a citizen of
the state of Pennsylvania. Defendants citizens of or have principle places of business in Canada.

THIS REMOVAL NOTICE IS TIMELY

6. The removal of this matter from state to federal court is proper under 28 U.S.C.A.
§1446 Where the initial filing sets forth the claim for relief upon Which the action is based and
Where the Complaint Was filed and served upon Defendant less than thirty (30) days prior to the
date this Notice of Removal Was i'iled.

7. The Complaint Was filed on May 25, 2017 and served on Defendants on August
27, 20 l 7.

8. Thus, the removal is timely under 28 U.S.C. §1446.

AMOUNT IN CONTROVERSY
9. Plaintiff seeks compensation for a motor vehicle accident that occurred on the

Northeast Extension, Route 476, in Montgomery County on August 29, 2016. See Exhibit “A” at

‘|l‘|iS-'?.

10. Plaintii`f presents three separate Ad Damnum clauses seeking damages in excess
of $50,000.00.

ll. Plaintiff further alleges that the injuries are serious and permanent IQ. at 1114.

12. Further, Plaintiff alleges great ioss of earnings and earning capacity. I_d_. at 1117.

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13. lt is believed and therefore averred, that from a reasonable reading of Plaintiff" s
Complaint, Plaintiff alleges monetary damages in excess of the sum of $75,000.00 exclusive of
interests and costs.

REMOVAL PREREQUISITES HAVE BEEN MET

14. This action is one over Which this Court has original jurisdiction under 28 U.S.C.
§1332 and is one that may be removed to this Court by the Defendant pursuant to 28 U.S.C.
§1441, in that it is a suit consisting of` a dispute between citizens of different countries and the
matter in controversy exceeds the sum or value of Seventy-five Thousand Dollars ($75,000.00),
exclusive of interest and costs.

15. The Notice of Removal has been timely made pursuant to 28 U.S.C. §l446(b).

16. Defendants have sought no similar relief With respect to this matter.

17. Concurrent With the filing of this Notice, Defendants are serving same upon
Plaintiff’ s counsel and Will promptly file a copy of the Notice With the Prothonotary of the Court
of Common Pleas of Philadelphia County, PA.

WHEREFORE, Notice is hereby given of removal of the above matter h‘om the
Philadelphia County Court of Common Pleas to the United States District Court for the Eastern

DiStrict of Pennsylvania.

Respectfully submitted,

W

WIL'LIAM E s EFE WESQUIRB
Attorney for De ndan

Dated: l 0//51 l 7

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CaS€ 2217-CV-O4709-B|\/|S

SIMON & SIMON, P.C.
Marc I. Simon, Esquire
Joshua A. Rosen, Esquire
Matthew J. Zamites, Esquire
Brian F. George, Esquire
Anc|rew Baron, Esquire
Raymond rI`arnovvski, Esquire
Grady Lowman, Esquire
Ashley Oakey, Esquire
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Joshua Baer, Esquire
Michael K. Simon, Esquire
Sam Reznil(, Esquire
Bryan Arner, Esquire

Attorney I.D. No.

201798

1515 Mari{et Street, Suite 1600
Phiiadelphia, PA l9l02

(215) 467-4666

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THIS lS NOT AN ARBITRATION COMPLAINT

AN ASSESSMENT OF DAMAGES ILESQBMG

lSREQUIRED fir/ir "‘?
File <

 
 
 
   
 

Mary G. McCarthy, Esq\rllw§t§`g\§ M
William Rhoades, Esquire\§g,, w \\
Michaei Schlagnhaut`e1, Esqu'
Alexande1 C Hyder, Esquire `
Erilc Newman, Esquire

Daria Koscielniak, Esquire
Harry Gosnear, Esquil‘e
Jessalyn Gilium, Esquire
Fabianna Pergoiizzi, Esquire
Ashley Keefer, Esquire

Katie Walsh, Esquire

Daniel Ward, EsquireAttorneys for
Plaintif`f(s)

 

Charmaine Shippen as parent natural
Guardian of Taliyah Berry (minor)
3304 North 4th Street

Philadelphia, PA 19l35

Plaintiff`
v.
Gino Catalano
5566 Robinson Street
Niagara Falis ON L2G2A-8

And

Zaveor Trucking Limited

3650 Eagle Street

Stevensville ON LOSlSO
Defendants

lN THE COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

September Term, 2017

No.

Case ID: 170903134

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NOTICE TO DEFEND

NOTICE

You have been sued in court. If you Wish to
defend against the claims set forth in the
following pages, you must take action Within
twenty (20) days after this complaint and
notice are served, by entering a written
appearance personally or by attorney and filing
in vvriting With the court your defenses or
objections to the claims set forth against you.
You are Warned that if you fail to do so the
case may proceed without you and a judgment
may be entered against you by the court
Without further notice for any money ciaimed
in the complaint or for any other claim or relief
requested by Ms. Olson. You may lose money
or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO
YOUR LAWYER AT ONCE. iF YOU DO
NOT HAVE A LAWYER OR CANNOT
AFFORD ONE, GO TO OR TELEPHONE
THE OF`FICE SET FORTH BELOW TO
FIND OUT WHERE YOU CAN GET LEGAL
HELP.

PHILADELPHIA BAR ASS()CIATION
LAWYER REFERRAL AND
INFORMATION SERVICE

One Reading Center
Phiiadelphia Pennsylvania 19107
Telephone: (215) 238-1701

AVISO

Le han demandado a usted en ia corte. Si usted
quiere defenderse de estas demandas expuestas en
las paginas siguientes, usted tiene viente (20) dias
de piazo al partir de la fecha de la demanda y la
notificacion. Hace falta asentar una
comparecencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en
contra de su persona. Sea avisado que si ustecl no
se defiende, la corte tomara medidas y puede
continuar la demanda en contra suya sin previo
aviso o notificacion. Adernas, la colte puede
deeidir a favor del demandante y requiere que
usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO
IMMEDIATAMENTE. SI NO TIENE
ABOGADO 0 SI NO TfENE EL DINERO
SUFICIENTE DE PAGAR TAL SERVICIO,
VAYA EN PERSONA 0 LLAME POR
TEL]§`,FONO A LA OFICINA CUYA
DIRECCION SE ENCUENTRA ESCRITA
ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL.

ASOCIACION DE LICENCIADOS DE
FILADELFIA
SERVICIO DE REFERENCIA E
INFORMACION LEGAL
One Reading Center
Filadelfia, Pennsylvania 19107
Teléfono: (215) 238-1701

Case iD: 170903134

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COMPLAINT

l. Plaintiff, Charmaine Shippen, as parent natural guardian of Taiiyah Berry, minor, is
a resident of the Comrnonwealth of Pennsylvania, residing at the address listed in the caption of this
Complaint.

2. Upon information and beiief, Defendant, Gino Catalano, is a resident ofthe Ontario,
Canada, residing at the address listed in the caption of this Complaint.

3. Defendant, Zavcor Trucl<ing Limited, is a business entity registered to do business in
the Ontario, Canada, with a business address listed in the caption of this Compiaint.

4. Upon information and belief, Defendants regularly and systematically transact
business in Philadelphia County so as to be subject to venue and in personem jurisdiction in
Philadelphia.

5. On or about August l6, 2016, at approximately 12:30 a.m., Plaintiff, was the
passenger of a motor vehicle, which was traveling at or near the Pennsylvania Turnpike, in Milford
Township, PA.

6. At or about the same date and time, Defendant, Gino Catalano, was the operator of a
motor vehicle, which was owned by Defendant, Zavcor Trucking Limited, which Was traveling at or
near the aforesaid intersection and/or location of the vehicle in which Plaintiff was a passenger.

7. At about the same date and time, Defendant’s vehicie was involved in a motor
vehicle collision with the vehicle in which Plaintiff was a passenger.

8. At all times relevant hereto, upon information and belief, Defendant, Gino Catalano,
was operating the aforementioned defendant, Zavcor Trucl<ing Limited’s motor vehicle as

defendant’s agent, servant and/or employee acting in the scope of their agency.

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9. The aforesaid motor vehicle collision was caused by the Defendant negligently
and/or carelessly, operating his vehicle in such a manner so as to rear-end the vehicle in which
Plaintiff Was a passenger.

10. As a direct and proximate result of the joint and/or several and/or direct or vicarious
negligence and/or carelessness of the Defendants, Plaintiff has sustained serious permanent personal
injuries and damages

l 1. As a result of the incident, Plaintiff suffered severe and permanent injuries as set

forth more fully beiow.

COUNT I
Taliyah Berry v. Gino Catalano
Negiigence
12. Plaintiff incorporates the foregoing paragraphs of this Cornplaint as if fully set forth
at length herein
13. The negligence and/or carelessness of Defendant, which was the direct and
proximate cause of the incident and the injuries and damages sustained by the Plaintiff consists of,
but is not limited to:
a. Rear~ending the vehicle in which Plaintiff was a passenger;
b. Operating his vehicle into Plaintiff’s lane of travel;
c. Faiiing to maintain proper distance between vehicles;
d. Operating said vehicle without regard for the rights or safety of Plaintiff or
others;
e. Failing to have said vehicle under proper and adequate control;
f. Operating said vehicle at a dangerous and excessive rate of speed under the
circumstances;

g. Vioiation of the assured clear distance rule;

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h. Faiiure to keep a proper lookout;

i. F ailure to apply brakes earlier to stop the vehicle without rear-ending the
Plaintiff and/or the vehicle in which Plaintiff was a passenger;

j. Being inattentive to his duties as an operator of a motor vehicle;

k. Disregarding traffic lanes, patterns, and other devices;

l. Driving at a high rate of speed which was high and dangerous for conditions;

m. Failing to remain continually alert while operating said vehicle;

n. Failing to perceive the highly apparent danger to others which the actions
and/or inactions posed;

o. Failing to give Plaintiff meaningful warning signs concerning the impending
coilision;

p. F ailing to exercise ordinary care to avoid a collision;

q. Failing to be highly vigilant and maintain sufficient control of said vehicle
and to bring it to a stop on the shortest possible notice;

r. Operating said vehicle with disregard for the rights of Plaintiff, even though
she was aware or should have been aware of the presence of Plaintiff and the
threat of harm posed to Plaintiff;

s. Continuing to operate the vehicle in a direction towards the Plaintiff’ s vehicle
when he/she saw, or in the exercise of reasonable diligence, should have
seen, that further operation in that direction would result in a collision;

t. Driving too fast for conditions;

u. Violating the Pennsylvania Vehicle Code;

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v. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Cornmonweaith of Pennsylvania, pertaining to the
operation and control of motor vehicles

14. As a direct result of the negligent and/or careless, conduct of Defendant, Plaintiff
suffered various serious and permanent personal injuries, serious impairment of bodily function,
permanent serious disfigurement, and/or aggravation of certain injuries, all to Plaintiff`s great loss
and detriment

15. As a result of these injuries, all of which are permanent in nature and all of which are
to Plaintiffs’ great financial detriment and loss, Plaintiff has in the past, is presently, and may in the
future suffer great pain, anguish, sickness and agony and Will continue to suffer for an indefinite
time into the future.

16. As an additional result of the carelessness and/or negligence of Defendant, Plaintiff
has suffered emotional injuries along with the physical injuries suffered.

l7. As a direct result of the negligent and/or careless conduct of the Defendant, Plaintiff
suffered damage to Plaintiff’s personal property, all to Plaintiff s great loss and detriment

18. As a further result of the injuries sustained, plaintiffs have, are presently, and may in
the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff" s further loss and
detriment

19. Furthermore, in addition to all the injuries and losses suffered by Plaintiff, Plaintiff
has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal
to and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Vehicie Financial Responsibility Law, 75 Pa.C.S. Section 1701, e_t. wpa as amended, for which he

makes a claim for payment in the present action.

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WHEREFORE, Plaintiff demands judgment in Plaintiffs favor and against Defendant, in an
amount in excess of Fifty Thousand ($50,000.00) Dollars, but not in excess of Seventy-Five

Thousand ($75,000.00), pins all costs and other relief this court deems necessary.

watt
Taliyah Berry v. Zavcor Trucking Limited
Negiigent Entrustrnent

20. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth fully
at length herein.

21. The negligence and/or carelessness of Defendant, Zavcor Trucking Limited, which
was a proximate cause of the aforesaid motor vehicle collision and the resultant injuries and
damages sustained by the Plaintiff, consists of, but is not limited to, the following:

a. Permitting Defendant, Gino Catalano, to operate the motor vehicle without
first ascertaining whether or not he/she was capable of properly operating
said vehicle;

b. Permitting Gino Catalano, to operate the motor vehicle when Defendant,
Zavcor Trucking Limited, knew, or in the exercise of due care and diligence,
should have known that Defendant, Gino Catalano, was capable of
committing the acts of negligence set forth above;

c. Failing to warn those persons, including the Plaintiff, that Defendant, Zavcor
Trucking Limited, knew, or in the existence of due care and diligence should

have known, that the Plaintiff would be exposed to Gino Catalano’s negligent

operation of the motor vehicle.

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22. As a direct result of the negligent and/or careless conduct of Defendant, the Plaintiff
suffered various serious and permanent personal injuries, serious impairment of bodily function,
permanent serious disfigurement, aggravation of certain injuries and/or other ills and injuries all to
Plaintiff" s great loss and detriment

23. As a result of these injuries, all of which are permanent in nature and all of which are
to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently and may in the
future suffer great anguish, sickness and agony and will continue to suffer for an indefinite time into
the future.

24. As an additional result of the carelessness and/or negligence of Defendant, Plaintiff
has suffered emotional injuries, along with the physical injuries suffered.

25. As a direct result of the negligent conduct of the Defendant, Plaintiff suffered
damage to his/her personal property, all to Plaintiff"s great loss and detriment.

26. As a further result of Plaintiff s injuries, she has in the past, is presently and may in
the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’ s further loss and
detriment

27. Furthermore, in addition to all the injuries and losses suffered by Plaintiff, Plaintiff
has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal
to and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Vehicle Financial Responsibiiity Law, 75 Pa.C.S. Section 1701, §§ wm as amended, for which she
makes a claim for payment in the present action.

WHEREFORE, Plaintiff prays forjudgment in Plaintiff’ s favor and against Defendant, in an
amount in excess of Fifty Thousand ($50,000.00) Dollars, but not in excess of Seventy~Five
Thousand ($75,000.00), plus all costs and other relief this court deems necessary.

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Taliyah Berry v. Zavcor Trucking Limited

Case ii): 170903134

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Respondeat Superior

28. Plaintiff incorporates the foregoing paragraphs of this Complaint as if fully set forth
at length herein.

29. The negligence and/or carelessness of Defendant, itself and through its agent, the
driver of the motor vehicle, acting at all times relevant hereto within the scope of the agency, which
was the direct and proximate cause of the incident and the injuries and damages sustained by the
plaintiff consist of, but is not limited to:

a. Rear-ending the vehicle in which Plaintiff was a passenger;

b. Operating his vehicle into Plaintiff’ s lane of travel;

c. Failing to maintain proper distance between vehicles;

d. Operating said vehicle without regard for the rights or safety of Plaintiff or
others;

e. Failing to have said vehicle under proper and adequate control;

f. Operating said vehicle at a dangerous and excessive rate of speed under the
circumstances;

g. Violation of the assured clear distance rule;

h. Failure to keep a proper lookout;

i. Failure to apply brakes earlier to stop the vehicle without rear~ending the
Plaintiff and/or the vehicle in which Plaintiff was a passenger;

j. Being inattentive to his duties as an operator of a motor vehicle;

k. Disregarding traffic lanes, patterns, and other devices;

l. Driving at a high rate of speed which was high and dangerous for conditions;

m. Failing to remain continually alert while operating said vehicle;

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n. Failing to perceive the highly apparent danger to others which the actions
and/or inactions posed;

o. Failing to give Plaintiff meaningful warning signs concerning the impending
collision;

p. Failing to be highly vigilant and maintain sufficient control of said vehicle
and to bring it to a stop on the shortest possible notice;

q. Operating said vehicle with disregard for the rights of Plaintiff, even though
he was aware or should have been aware of the presence of Plaintiff and the
threat of harm posed to him;

r. Continuing to operate the vehicle in a direction towards the Plaintiff’ s and/or
co-defendants’ vehicle when he saw, or in the exercise of reasonable
diligence, should have seen, that further operation in that direction would
result in a collision;

s. Driving too fast for conditions;

t. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth of` Pennsylvania, pertaining to the
operation and control of motor vehicles;

30. As a direct result of the negligent and/or careless, conduct ofDefendant, Plaintiff
suffered various serious and permanent personal injuries, serious impairment of bodily function,
permanent serious disfigurement, and/or aggravation of certain injuries, all to Plaintiff’s great loss
and detriment

31. As a result of these injuries, all of which are permanent in nature and all of which are

to Plaintiffs’ great financial detriment and loss, Plaintiff has in the past, is presently, and may in the

Case iD: l70903l34

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future suffer great pain, anguish, sickness and agony and will continue to suffer for an indefinite
time into the future.

32. As an additional result of the carelessness and/or negligence of Defendant, Plaintiff
has suffered emotional injuries along with the physical injuries suffered.

33. As a direct result of the negligent and/or careless conduct of the Defendant, Plaintiff
suffered damage to Plaintiff`s personal property, all to Plaintiffs great loss and detriment

34. As a further result of the injuries sustained, Plaintiff has, is presently, and may in the
future undergo a great loss of earnings and/or earning capacity, all to Plaintiff s further loss and
detriment

35. Furthermore, in addition to ali the injuries and losses suffered by Plaintiff, Plaintiff
has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal
to and/or in excess of the basic personal injury protection benefits required by the Pennsyivania
Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, e_t. m, as amended, for which he
makes a claim for payment in the present action.

WHEREFORE, Plaintiff demands judgment in Plaintiff’s favor and against Defendant, in an
amount in excess of Fifty Thousand ($50,000.00) Dollars, but not in excess of Seventy-Five
Thousand ($75,000.00), plus all costs and other relief this court deems necessary.

SIMON & SIMON, P.C.

BY: /s
Marc I. Simon, Esquire
Simon & Simon, P.C.
1515 Market Street
Suite 1600
Philadelphia, PA 19102

215-467-4666
Al‘torneyfor Plaintiij

 

Case lD: 120903134

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l, lvlan: Sirnon, hereby state that lam attorney for the Plaintiff in the within action and
that then facts set forth in this C_~ivil Acticn Complaint above are true and correct tothc best of my l-
knowiedge, h:formatlon and belief ~

l understand that the statements in this Veriiicaticnlare made subject to the penalties cf

18 LIS.C.A § 1001 relating to unsworn falsification tc authorities

1 _l,;'=l,=!!i`_f:n\`__\,

Marc l. Simon

 

Case 1131 120903 l31l

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VERIFICA'I`ION
I, , am the plaintiff in this action, and 'i hereby state that the facts set
forth in the foregoing Complaint are true and correct to the best of my knowiedge, infoi‘mation,
and belief l understand that this Verification is subject to 18 Pa. C.S. § 4904 providing for

criminal penalties for unsworn falsification to authorities

 

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UNI'I`ED STA'I`ES DISTRICT COURT
F()R THE EASTERN DISTRICT OF PENNSYLVANIA

CHARMAINE SHIPPEN, as parent
Natural Guardian of, Taliyah Berry : Civil Action No.

VS.

GINO CA'I`ALANO and ZAVCOR
TRUCKING LIMITED

CERTIFICATE OF SERVICE

I, Wiiliatn E. Schaefer, Esquire, hereby certifies that service of a true and correct copy of
the within Notice of Relnoval Was made on this date via electronic iiiing and/or U.S. First Ciass
Mail to the following parties:

Mai‘c I Sirnon, Esquii'e
Sirnon & Simon, P.C.
1515 Market Street
Suite 1600
Philadelphia, PA 19102
Counseljbr Plaintiij

Respecti"ully Subrnitted,

Hi% &L W
WiLLiAMB. sCH EFER wounds

Attoiney foi Defe dants

Dated: October ii 2017

 

